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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
KEITH D WEBB, SR.,
Plaintiff, CASE NO.:
_VS_
GLASS MOUNTAIN CAPITAL LLC,

Defendant.

MLAI_NI
1. Plaintiff alleges violation of the Telephone Consurner Protection Act, 47 U.S.C.
§227 et seq. (“TCPA”), and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq.
(“FDCPA”), and the Florida Consurner Collection Practices Act, sections 559.55, et seq., Florida

Statutes (hereafter “FCCPA”).

 

 

JURISDICTION AND VENUE
2. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. §1331.
3. The alleged violations described in the Complaint occurred in Sarasota County,
Florida.
FACTUAL ALLEGATIONS
4. Plaintiff is a natural person Who is over the age of eighteen (18) Who resides in

Sarasota County, Florida.

5. Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692(a)(3) and Florida Statute

559.55(2).

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6. Plaintiff is the “called party.” See Sol)pet v. Enhanced Recoverv Co., LLC, 679
F.3d 637, 643 (7th Cir. 2012), reh'g denied (May 25, 2012).

7. At all times material hereto, Defendant was and is a foreign corporation,
authorized to conduct business and conducting business in Florida, with its principal address at
1930 Thoreau Dr., Ste, 100, Schaumburg, IL 60173.

8. Defendant is a “debt collector” as defined by 15 U.S.C §1692(a)(6).

9. The debt that is the subject matter of this complaint is a “consumer debt” as
defined by 15 U.S.C. § 1692(a)(5) and Florida Statute §559.55(1).

10. Defendant attempted to collect a debt from the Plaintiff by this campaign of
telephone calls,

11. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

12. Plaintiff is the regular user and carrier of the cellular telephone number at issue,
(941) 447 -4682, and was the called party and recipient of Defendant’s hereafter described calls,

13. Plaintiff has never provided Defendant with his aforementioned cellular telephone
number, nor has he ever provided verbal or express consent for Defendant to call his
aforementioned cellular telephone number.

14. In or about November of 2013, Defendant initiated its campaign of phone calls to
the Plaintiff on his aforementioned cellular telephone. Upon receipt of the calls, Plaintiff’ s caller
ID identified that the calls were being initiated from, but not limited to, the following phone
number: (941) 357-1202.

15. Upon information and belief, the telephone calls were placed using automated

telephone dialing equipment, without human intervention
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16. Immediately upon receipt of the calls, Plaintiff answered a call from Defendant,
received Defendant’s pre-recorded message, followed the prompt to be connected to a live
representative and demanded that Defendant stop calling his cellular telephone number.

17. Despite actual knowledge that they did not have Plaintiff’s consent, the Defendant
continued its barrage of phone calls to Plaintiff` s aforementioned cellular telephone number in an
attempt to collect a debt.

18. In or about December of 20137 Plaintiff received a call from Defendant on his
aforementioned cellular telephone number after 10:00p.m., EST. Again, Plaintiff answered the
Defendant’s telephone in attempt to speak with the Defendant and end the calls, but upon
answering the call, the Plaintiff heard only open air, and the call was disconnected

19. On at least six separate occasions, Plaintiff spoke with an agent/representative of
the Defendant in an attempt to be removed from the call list, informing the Defendant not to call
his aforementioned cellular telephone number any longer.

20. Each of Plaintiff` s conversations with the Defendant demanding an end to the
harassment were ignored

21. From November of 2013 through the filing of this Complaint, Plaintiff received
over sixty (60) automated calls from the Defendant. [Please see Exhibit A demonstrating at least
29 phone calls from December 9, 2013 March 30, 2014.]

22. Each call Defendant made to the Plaintiff` s cell phone was done so without the
“express permission” of the Plaintiff.

23. Upon information and belief, the telephone calls at issue were placed by
Defendant using an “automated telephone dialing system” as specified by the TCPA, 47 U.S.C. §

227(a)(1), which has the capacity to store or produce telephone numbers to be called, using a

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random or sequential number generator; and to dial such numbers (hereafter “ATDS” or
“autodialer”).

24. Defendant initiated each of the calls at issue to Plaintiff’s aforementioned cellular
telephone numbers without the “prior express consent” of Plaintiffs, as specified by the TCPA,
47 U.S.C. § 227(b)(1)(A).

25. Additionally, none of the telephone calls at issue were placed by Defendant to
Plaintiff’ s aforementioned cellular telephone numbers for “emergency purposes” as Specified by
the TCPA, 47 U.S.C. §227 (b)(l)(A).

26. Despite actual knowledge of its wrongdoing, Defendant continued the campaign
of abuse.

27. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice, just as they did to the Plaintiff`s cellular telephone in this case,
with no way for the consumer, or Defendant, to remove the number.

28. Defendant’s corporate policy is structured as to continue to call individuals like
the Plaintiff, despite these individuals telling the Defendant to stop contacting their cellular
telephone number.

29. Plaintiff did not expressly consent to Defendant’s placement of telephone calls to
Plaintist aforementioned cellular telephone by the use of an automatic telephone dialing system
or a pre-recorded or artificial voice prior to Defendant’s placement of the calls.

30. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge that the called parties did not provide prior express consent to receive the calls, or
had revoked such prior express consent verbally, in writing, or through retention of legal

counsel.

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interest, enjoinder from further violations of these parts and any other such relief the court may
deem just and proper.

M
(Violation of the FDCPA)

39. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)
through (35), as if fully set forth herein.

40. At all times relevant to this action, Defendant is subject to and must abide by 15
U.S.C. §1692 et seq.

41. Plaintiff has been the object of collection activity by Defendant arising from an
alleged consumer debt.

42. Defendant engaged in an act or omission prohibited under 15 U.S.C. §1692c(a)(1)
by communicating with the Plaintiff at a time know to be inconvenient to the consumer, before
8:00 am or after 9:00 pm.

43. Defendant engaged in an act or omission prohibited under 15 U.S.C. §1692d
engaging in conduct in connection with the collection of a debt, the natural consequence of
which is to harass, oppress, or abuse Plaintiff.

44. Defendant engaged in an act or omission prohibited under 15 U.S.C. §1692d(5)
by causing Plaintiff’s telephone to ring or engaging Plaintiff in telephone conversation
repeatedly or continuously with the intent to annoy, abuse, or harass Plaintiff at the called
number.

45. Defendant engaged in an act or omission prohibited under 15 U.S.C. §1692d(6)
by calling Plaintist aforementioned cellular telephone number and hanging up prior to or as
soon as the Plaintiff or the Plaintiff s voice mail answered the call, in such a Way as to fail to

provide a meaningful disclosure of its identity.

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46. Defendant engaged in an act or omission prohibited under 15 U.S.C. §1692f by
using unfair or unconscionable means to collect or attempt to collect a debt from Plaintiff.

47. Defendant engaged in an act or omission prohibited under 15 U.S.C. §1692g(a)
by failing to send Plaintiff the required written validation notice within five (5) days of the initial
communication

WHEREFORE, Plaintiff respectfully demands judgment against Defendant for statutory

damages, actual damages, punitive damages, an injunction from similar conduct in the future,
attorney fees, costs, interest and such other relief as this Court deems just and proper.

_C__QEM
(Violation of the FCCPA)

48. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)
through (35), as if fully set forth herein.

49. At all times relevant to this action Defendant is subject to and must abide by the
law of Florida, including Florida Statute § 559.72.

50. Defendant has violated Florida Statute §559.72(7) by willfully communicating
with the debtor or any member of her or his family with such frequency as can reasonably be
expected to harass the debtor or her or his family.

51. Defendant has violated Florida Statute §559.72(7) by willfully engaging in
conduct which can reasonably be expected to abuse or harass the debtor or any member of her or
his family.

52. Defendant has violated Florida Statute §559.72(17) by communicating with the
debtor between the hours of 9:00 p.m. and 8:00 a.m. in the debtor’s time Zone without the prior

consent of the debtor.

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53. Defendant’s actions have directly and proximately resulted in Plaintiff’ s prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder from further violations of these parts and any other such relief
the court may deem just and proper.

Respectfully submitted,

s/Amana'a Allen

 

Amanda Allen, Esquire

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Phone Call Log for (941) 447 -4682

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Time Caller
1. 12/09/2013 11:38 am (941) 357_1202
2. 12/10/2013 05;51 pm (941) 357-1202
3. 12/13/2013 01:53 pm (941) 357-1202
4. 13/13/2013 11;27 am (941) 357-1202
5. 12/16/2013 12;38 pm (941) 357-1202
6. 12/17/2013 02;44 pm (941) 357-1202
7. 12/19/2013 03;28 pm (941) 357-1202
8. 12/20/2013 10;00 am (941) 357-1202
9. 12/26/2013 12;52 pm (941) 357-1203
10. 12/26/2013 05:23 pm (941) 357-1202
11. 12/27/2013 12:40 pm (941) 357-1202
12. 12/30/2013 04:10 pm (941) 357-1202
13. 12/31/2013 10;48 pm (941) 357-1202
14. 01/08/2014 05:38 pm (941) 357-1202
15. 01/10/2014 02:55 pm (941) 357-1202
16. 01/20/2014 02;51 pm (941) 357-1204
17. 01/23/2014 06:41 pm (941) 357-1204
18. 01/29/2014 01;44 pm (941) 357-1204
19. 01/31/2014 02:08 pm (941) 357-1202
20. 02/03/2014 01;02 pm (941) 357-1202
21. 02/06/2014 03:05 pm (941) 357-1202
22. 02/17/2014 05:18 pm (941) 357-1202
23. 02/26/2014 12;10 pm (941) 357-1202
24. 03/03/2014 03;20 pm (941) 357-1202
25. 03/03/2014 03;21 pm (941) 357-1202
26. 03/10/2014 01:18 pm (941) 357-1202
27. 03/14/2014 11:34 am (941) 357-1202
28. 03/30/2014 11:05 am (941) 357-1202
29. 03/30/2014 10;45 am (941) 357-1204

 

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